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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.      8:17-cv-01887-JWH-JDE                                 Date: December 3, 2021
   Title: Alternate Health USA Inc. et al v. Paul Edalat



   Present: The Honorable Shashi H. Kewalramani, United States Magistrate Judge

                 D. Castellanos                                       Not Reported
                 Deputy Clerk                                         Court Reporter

      Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                 None Present                                          None Present

   Proceedings (IN CHAMBERS): ORDER TO SHOW CAUSE


           The Court set a settlement conference matter for December 7, 2021 at 11:00 a.m. To
  date, Defendant/ Counter Plaintiff Paul Edalat’s Counsel (“Counter Plaintiff”) has not complied
  with the Settlement Conference Order (“Order”) issued by this Court on November 16, 2021.
  Pursuant to the Order, Counsel are to submit their confidential brief statement no later than 4:00
  p.m. five (5) court days prior to the settlement conference date. The Court did not receive
  Counter Plaintiff’s statement which was due November 30, 2021 nor has the Court received it as
  of the issuance of this Order. On December 2, 2021 the Courtroom Deputy Clerk sent an email
  to all the parties regarding briefs and provided another deadline of 4:00 p.m. December 3, 2021
  to submit any briefs. As of 4:40 p.m. on December 3, 2021, the Court has yet to receive any
  briefs from Defendant/Counter Plainitff.

          Accordingly, the settlement conference set for December 7, 2021 at 11:00 a.m. will be
  taken off calendar and instead will hold a ORDER TO SHOW CAUSE HEARING. The parties
  are directed to log in to http://www.cacd.uscourts.gov/honorable-shashi-h-kewalramani to access
  the Zoom Webinar link for this hearing.

          Failure to comply further with this Court order may result in sanctions.


          IT IS SO ORDERED.




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